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Court to ED’s reply for its true and complete contents and denies the allegations of this paragraph

to the extent they are inconsistent with the full text of ED’s email reply.

        30.     Defendant admits that it has not yet issued its Final FOIA response to the AAASG

FOIA request.

        31.     Defendant denies the allegations of this paragraph to the extent that it alleges that

ED has failed to notify TCF of a final determination or produce the reasons for withholding

requested records regarding the SESG FOIA as of the date of the Complaint, but admits the

allegations with respect to the AAASG FOIA request.

        32.     Paragraph 32 contains conclusions of law to which no response is required.

                                            COUNT I
                                Violation of FOIA, 5 U.S.C. § 552
          Failure to Conduct Adequate Search for Responsive Records with respect to the
                                           SESG FOIA

        33.     Defendant incorporates by reference the responses to Paragraphs 1-32 and all

affirmative defenses set forth above.

        34.     Paragraph 34 contains conclusions of law and characterizations of FOIA to which

no response is required.

        35.     Paragraph 35 contains conclusions of law and characterizations of FOIA to which

no response is required.

        36.     Defendant denies.

        37.     Defendant denies that it failed to conduct an adequate search.

        38.      Paragraph 38 contains Plaintiff’s conclusions of law and Plaintiff’s

characterization of the relief requested in this action to which no response is required. Defendant

denies that Plaintiff is entitled to any relief in this action.



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                                      COUNT II
                           Violation of FOIA, 5 U.S.C. §552
      Wrongful Withholding of Non-Exempt Records with respect to the SESG FOIA
       39.     Defendant incorporates by reference the responses to Paragraphs 1-32 and all

affirmative defenses set forth above.

       40.     Paragraph 40 contains conclusions of law and characterizations of FOIA to which

no response is required.

       41.     Paragraph 41 is Plaintiff’s conclusion of law, to which no response is required.

       42.     Defendant denies.

       43.     Paragraph 43 contains conclusions of law and characterizations of FOIA to which

no response is required.

       44.     Paragraph 44 contains Plaintiff’s conclusions of law and Plaintiff’s characterization

of the relief requested in this action to which no response is required.

                                     COUNT III
                          Violation of FOIA, 5 U.S.C. § 552
 Failure to Conduct Adequate Search for Responsive Records with respect to the AAASG
                                        FOIA
       45.     Defendant incorporates by reference the responses to Paragraphs 1-43 and all

affirmative defenses set forth above.

       46.     Paragraph 46 contains conclusions of law and characterizations of FOIA to which

no response is required.

       47.     Paragraph 47 contains conclusions of law and characterizations of FOIA to which

no response is required.

       48.     Paragraph 48 contains conclusions of law and characterizations of FOIA to which

no response is required.




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          49.    Paragraph 49 contains conclusions of law and characterizations of FOIA to which

no response is required.

          50.    Paragraph 50 contains Plaintiff’s conclusions of law and Plaintiff’s characterization

of the relief requested in this action. Defendant denies that Plaintiff is entitled to any relief in this

action.

                                          COUNT IV
                               Violation of FOIA, 5 U.S.C. § 552
                  Failure to Conduct Adequate Search for Responsive Records
                               with respect to the AAASG FOIA
          51.    Defendant incorporates by reference the responses to Paragraphs 1-32 and all

affirmative defenses set forth above.

          52.    Paragraph 52 contains conclusions of law and characterizations of FOIA to which

no response is required.

          53.    Paragraph 53 contains conclusions of law and characterizations of FOIA to which

no response is required.

          54.    Paragraph 54 contains conclusions of law and characterizations of FOIA to which

no response is required.

          55.    Paragraph 55 contains conclusions of law and characterizations of FOIA to which

no response is required.

          56.    Paragraph 56 contains Plaintiff’s conclusions of law and Plaintiff’s characterization

of the relief requested in this action.

                                      PRAYER FOR RELIEF

          The remainder of Plaintiff’s Complaint consists of Plaintiff’s Prayer for Relief, and, thus,

no response is required. To the extent this paragraph is deemed to contain factual allegations,

Defendant denies those allegations and denies that Plaintiff is entitled to any relief.

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        WHEREFORE, having fully answered, Defendant requests judgment and relief against

Plaintiff as follows:

   a)      That the claim against Defendant is dismissed with prejudice and that the Plaintiff takes

           nothing and is granted no relief, including, but not limited to, relief requested in

           Plaintiff’s Prayer for Relief at paragraphs (a)-(e).

   b)      That Defendant be awarded its costs and disbursements incurred in defending this

           matter; and

   c)      Such other and further relief to which it is entitled.


Dated: June 25, 2018                          Respectfully submitted,

                                              JESSIE K. LIU, D.C. Bar No. 472845
                                              United States Attorney

                                              Daniel F. VanHorn, D.C. Bar No. 924092
                                              Chief, Civil Division

                                              By: /s/ April Denise Seabrook
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